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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MAINE
                       CIVIL ACTION DOCKET NO. 2:2017-CV-00090-GZS

CITIBANK, N.A., NOT IN ITS INDIVIDUAL                   )
CAPACITY, BUT SOLELY AS TRUSTEE OF                      )
NRZ PASS-THROUGH TRUST VI                               )
                                                        )
       PLAINTIFFS                                       )
                                                        )    PLAINTIFF’S SUPPLEMENTAL
                v.                                      )          WITNESS LIST
                                                        )
GAIL M. YORK                                            )    ADDRESS: 94 NEW COUNTRY
                                                        )    RD., HOLLIS, YORK COUNTY,
       DEFENDANT                                        )              MAINE
                                                        )
                 and                                    )             MORTGAGE:
                                                        )     Dated December 1, 2015, in Book
FIRST HORIZON HOME LOAN                                 )             14693 Page 86
CORPORATION                                             )
                                                        )
       PARTY IN INTEREST                                )

        Plaintiff in the above-captioned matter hereby submits the following SUPPLEMENTAL
list of Witnesses which it may call or submit at any trial in this matter:

WITNESSES: A representative of Plaintiff having personal knowledge of the records of this
matter kept by Plaintiff in the ordinary course of business: Marc Berninger, employees of
Nationstar Mortgage, LLC, dba Mr. Cooper, 8950 Cypress Waters Blvd., Coppell, TX 75019 duly
authorized servicer for Plaintiff, as a non-expert witness; the statement of his testimony will be to
testify as to the content of the business records relevant hereto; the estimate of time for direct
examination is one-half hour.

        Plaintiff reserves the right to add to the Witness and Exhibit Lists upon sufficient prior
notice to Defendant prior to trial.
                                               Respectfully submitted, Plaintiff, by its attorneys
                                               Shechtman Halperin Savage, LLP


Date: 1/25/18                                 By:     ___/s/ Carrie Folsom ________
                                                      Carrie Folsom, Esq., #9510

Date: 1/25/18                                 By:     ___/s/ John M. Ney, Jr.______
Shechtman Halperin Savage, LLP                        John M. Ney, Jr., Esq., #9421
1080 Main Street
Pawtucket, RI 02860
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